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PROFESSIONAL   Janssen Research & Development, LLC, Springhouse, PA (2009 -Present)
EXPERIENCE:    Associate Director, Clinical Pharmacology and Experimental Medicine

               Shasun Pharma Solutions, Inc., Piscataway, NJ (2008 -2008)
               General Manager, Laboratory Operations

               Centocor, Inc., Radnor, PA (2007 -2007)
               Consultant, Clinical Pharmacology and Experimental Medicine

               Rhodia Pharma Solutions, Deepwater, NJ (2002 -2006)
               Director, Analytical Sciences

               Lonza, Inc., Conshohocken, PA. (2000 -2002)
               Director, Analytical Sciences

               Omnicare Pharmaceutic Services, Inc., Ft. Washington, PA. (1999 - 2000)
               Director, Analytical Sciences

               SmithKline Pharmaceutical Research and Devleopment, Phila., PA. (1998 - 1999)
               Consultant, Clinical Pharmacology

               Medlab Clinical Testing, Inc., New Castle, DE (1996 - 1998)
               Director, Forensic Toxicology Services

               SmithKline Beecham Clinical Laboratories, Norristown, PA. (1990 - 1996)
               Director, Clinical Toxicology and Chemistry (1990-1996)
               Staff Toxicologist (1990-1990)

               Hahnemann-MCP University, Philadelphia, Pa. (1992-2001)
               Adjunct Professor, College of Allied Health

               Kenneth D. Graham, Ph.D., Phoenixville, Pa. (1990-present)
               Consultant, Forensic Toxicology and Pharmacology

               Wyeth-Ayerst Laboratories, Radnor, Pa. (1990-1990)
               Fellow, Clinical Drug Safety Surveillance

               Albert Einstein Medical Center, Philadelphia, Pa. (1981-1989)
               Clinical Pharmacist
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                       B.A., Biology, Temple University, Philadelphia, Pa.

PROFESSIONAL           American Academy of Forensic Sciences
MEMBERSHIPS:           American Association for Clinical Chemistry
                       American Association of Pharmaceutical Scientists
                       Rho Chi Pharmaceutical Honor Society

LICENSURE:             Registered Pharmacist, Commonwealth of Pennsylvania

CONTINUING             Drug Use Testing: Forensic Science and Legal Issues, American Academy of Forensic
EDUCATION:             Sciences (1988).

                       Toxico-Thanatometrics, Society of Forensic Toxicologists (1988).

                       Clinical Forensic Toxicology, Society of Forensic Toxicologists (1989).

                       Pharmacology and Toxicology of Opioids, American Academy of Forensic Sciences
                       (1990).

                       Modern Practice of Forensic Toxicology: Current States and Future Trends, American
                       Academy of Forensic Sciences (1990).

                       Bioanalytical Separations Utilizing SF Chromatography, Society of Forensic
                       Toxicologists (1990).

                       Certainty in Toxicology: Application of the NCCLS GP-10 to Toxicology Screening,
                       American Association for Clinical Chemistry (1991).

                       Annual Lectureship in Forensic Toxicology: Pharmacology and Toxicologic
                       Significance of Fluoxetine, American Academy of Forensic Sciences (1992).

                       Frontiers in Forensic Toxicology, American Academy of Forensic Sciences (1992).

                       Analytical Quality Assurance through Quality Planning and Quality Control,
                       American Association for Clinical Chemistry, (1992).

                       Drugs and their Impact on Motor Performance, Society of Forensic Toxicology (1993).

                       Back to Basics, American Academy of Forensic Sciences (1994).

                       Clinical Chemistry: A Practical Review, American Association for Clinical
                       Chemistry, (1995).
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                       Academy of Forensic Sciences (1997).

                       Pharmacokinetics and Interpretation of Old and New Drugs, American Academy of
                       Forensic Sciences (1997).

                       Forensic Toxicology: A Living Science, American Academy of Forensic Sciences
                       (1997).

                       Post Mortem Forensic Toxicology - Issues in Childhood Poisoning, American Academy
                       of Forensic Sciences (1999).

                       Marijuana: A Forensic Symposium, American Academy of Forensic Sciences (1999)

                       GHB: Old Substance, New Problem, American Academy of Forensic Sciences (2002)

                       Central Nervous System Toxins: Biochemical Mechanisms and Physiological
                       Consequences, American Academy of Forensic Sciences (2002)

                       Is This Driver Impaired by Drugs? Can Blood Concentrations and A DRE Evaluation
                       answer this question? American Academy of Forensic Sciences (2002)

                       Tryptamines and Other Psychotropic Substances: Analysis, Toxicology and
                       Pharmacology, American Academy of Forensic Sciences (2004)

                       Ephedrine: Drug or Supplement? Ephedrine Related Compounds and the Debate on
                       Their Potential for Contribution to Injury, American Academy of Forensic Sciences
                       (2004)

                       Application of the Principles of Pharmacology and Pharmacokinetics to the Interpretation
                       of Drug Blood Levels, American Academy of Forensic Sciences (2004)

                       Anatomical, Pathological and Physiological Foundations of Toxicity, American Academy
                       of Forensic Sciences (2005)

                       Human Factors, Performance and Transportation Safety – The Rest of the Story: Beyond
                       Alcohol and Other Drug Impairment, American Academy of Forensic Sciences (2005)

                       Interpretation of Toxicological Analysis in the Elderly, American Academy of Forensic
                       Sciences (2006)

                       Operation Street Smart: An Overview of Current Street Drugs and Drug Culture,
                       American Academy of Forensic Sciences (2006)

                       Forensic Toxicology – The World Outside of Drugs, American Academy of Forensic
                       Sciences (2006)
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                       Finding the Needle in the Haystack: Improving the Toxicological Investigation of Drug-
                       Facilitated Sexual Assault and Other Crimes, American Academy of Forensic Sciences
                       (2007)

                       Pharmacology and Pharmacokinetics for Forensic Toxicologists, American Academy of
                       Forensic Sciences (2009)

                       Beyond the Numbers: An Objective Approach to Forensic Toxicological Interpretation,
                       American Academy of Forensic Sciences (2013)

                       Toxicology of the Poisoned Patient, American Academy of Forensic Sciences (2015)

                       Driving Under the Influence of Drugs – Synthetic Cannabinoids, American Academy of
                       Forensic Sciences (2016)

                       Impaired Driving Symposium, American Academy of Forensic Sciences (2016)




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